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MINUTE ENTRY
AFRICK, J.
March 14, 2019
JS-10 1:00

                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                                CIVIL ACTION

VERSUS                                                                  No. 12-859

MARLIN GUSMAN, ET AL.                                                   SECTION I

                                     ORDER

      A status conference was held on this date, with all parties represented. In

addition to the parties’ representatives, the following persons participated: United

States Magistrate Judge Michael North, lead monitor Margo Frasier and monitors

Dr. Bob Greifinger and Dr. Ray Patterson; Independent Jail Compliance Director

Darnley R. Hodge, Sr. and members of his staff; New Orleans City Councilmembers

Jason Williams, Joseph Giarrusso, III, and Helena Moreno; and John Sousa, the

project manager on behalf of the City of New Orleans (the “City”).

      The Court and the participants discussed ongoing matters related to the

medical and acute and subacute mental health needs of the prisoners confined at the

Orleans Justice Center (the “OJC”) and Elayn Hunt Correctional Center (“Hunt”).

Matters discussed included the emergency situation posed by the potential loss in

October 2019 of Hunt as a facility available to house male OJC prisoners requiring

acute and subacute mental health care. Issues surrounding a lack of constitutional
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mental health care treatment for female OJC prisoners, as well as issues concerning

their access to constitutional medical care, were likewise discussed at length.

      Following discussions with the Court, the City agreed to move forward with

the renovation of the Temporary Detention Center—which is to be used as a

temporary facility intended to address the needs of prisoners discussed herein. The

City also reaffirmed, once again, its commitment to building the permanent medical

and mental health facility referred to as Phase III on an expedited basis.

      Furthermore,

      IT IS ORDERED that an in-chambers status conference is scheduled for

APRIL 2, 2019 at 7:30 A.M.

      New Orleans, Louisiana, March 14, 2019.



                                       _______________________________________
                                               LANCE M. AFRICK
                                       UNITED STATES DISTRICT JUDGE




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